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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


UNITED STATES OF AMERICA                             CASE NO. 3:20-CR-00230-01

VERSUS                                               JUDGE TERRY A. DOUGHTY

RAYYUN DERRELL SLEDGE (01)                           MAG. JUDGE KAYLA D. MCCLUSKY

                                         JUDGMENT

        The Report and Recommendation of the Magistrate Judge having been considered, no

objection thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

ACCEPTS the guilty plea of the defendant, RAYYUN DERRELL SLEDGE, and adjudges him

guilty of the offense charged in Count Two of the Indictment against him.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the District Court

ACCEPTS Defendant’s agreement to forfeit and abandon any claim, right, title, or interest he may

have in the firearm(s) seized in this matter.

        MONROE, LOUISIANA, this 1st day of June 2021.




                                                             TERRY A. DOUGHTY
                                                        UNITED STATES DISTRICT JUDGE
